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                              United States District Court
                              Eastern District of Michigan
                                   Southern Division


  United States of America,

                      Plaintiff,                        Criminal No. 19-30572
  v.

  Amin Hasanzadeh,

                      Defendant.
                                     /

                  Stipulation to Adjourn Preliminary Exam and
                     Complaint and to Find Excludable Delay

         The United States of America and Defendant agree that there is good

cause to adjourn the Complaint, and the Preliminary Exam in this case scheduled

for January 23, 2020, to a new date of March 11, 2020. See Fed. R. Crim. P. 5.1(d).

This extension of time is necessary to allow the parties to continue to investigate

the facts of this case further, exchange preliminary discovery, and engage in plea

negotiations. Defendant concurs in this request and agrees that it is in Defendant’s

best interest. The parties further stipulate and agree that the complaint remains in

full force and effect through the new date of March 11, 2020. The parties stipulate

and agree that this stipulation and any order resulting therefrom shall not affect

any previous order of pretrial detention or pretrial release.
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      Additionally, the parties agree that the adjournment from January 23, 2020, to

a new date of March 11, 2020 would serve the ends of justice for the reasons stated

above, that the failure to grant this continuance “would deny counsel for the

defendant . . . the reasonable time necessary for effective preparation, taking into

account the exercise of due diligence,” and that this time period should be excluded

in calculating the time within which an indictment or information must be filed under

the Speedy Trial Act. See 18 U.S.C. § 3161(h)(7) and 18 U.S.C. § 3161(b).

Therefore, “the ends of justice served by the granting of such continuance [will]

outweigh the best interests of the public and the defendant in a speedy trial,” 18

U.S.C. § 3161(h)(7), and the parties request an order to that end.


s/ Douglas C. Salzenstein                     s/ John H. Bradley w/permission
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January 13, 2020
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                            United States District Court
                            Eastern District of Michigan
                                 Southern Division


United States of America,

                    Plaintiff,                            Criminal No. 19-30572
v.

Amin Hasanzadeh,

                    Defendant.
                                   /

                          Order Adjourning Preliminary
                           Examination and Complaint

        This matter coming before the court on the stipulation of the parties, it is

hereby

        ORDERED that good cause exists to extend the complaint and Preliminary

Examination in this case, scheduled for January 23, 2020, to a new date of March

11, 2020. See Fed. R. Crim. P. 5.1(d).

        ORDERED that the complaint and the order of pretrial detention and/or

pretrial release shall remain in full force and effect.

        ORDERED that the period from January 23, 2020 to March 11, 2020, shall

be excluded from computing the time within which an information or indictment

must begin for the reasons set forth herein, and because the ends of justice served by
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such continuance outweigh the interests of the public and Defendant in a speedy

trial. See 18 U.S.C. §3161(h)(7) and 18 U.S.C. § 3161(b).

                                            IT IS SO ORDERED.

                                            s/David R. Grand
                                            DAVID R. GRAND
                                            United States Magistrate Judge

Entered: 1/15/20
